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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                                Eastern Division


SCIENTEL SOLUTIONS, LLC,
                Plaintiff,                         Civil Action No. 1:17-CV-00937

v.                                                 Judge Joan B. Gottschall

RICHARD SEIFF,
                     Defendant.


RICHARD SEIFF,
                     Counter Plaintiff,

v.

SCIENTEL SOLUTIONS, LLC and
NELSON SANTOS,
                Counter Defendants.


                                  NOTICE OF MOTION

TO: Jeffery M. Heftman
    j.heftman@gozdel.com
    Steven H. Leech
    s.leech@gozdel.com
    Gozdecki, Del Giudice, Americus, Farkas & Brocato LLP
    One East Wacker Drive, Suite 1700
    Chicago, IL 60601


       PLEASE TAKE NOTICE that on Friday, March 24, 2017, at 9:30 a.m. we shall

appear before the Honorable Judge Joan B. Gottschall or any Judge sitting in her stead, at 219

South Dearborn Street, Courtroom 2325, Chicago, IL 60604 and shall then and there present

Counter-Defendants’ Fed. R. Civ. P. 12(b)(1) and 12(b)(6) Motion to Dismiss Counterclaim

of Defendant/Counter-Plaintiff, a copy of which is hereby served upon you.
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Dated: March 20, 2017                 Respectfully submitted,

                                      SCIENTEL SOLUTIONS, LLC and
                                      NELSON SANTOS

                                      By their attorneys,

                                      /s/ Edward J. Naughton
                                      Edward J. Naughton
                                      BROWN RUDNICK LLP
                                      One Financial Center
                                      Boston, MA 02111
                                      Phone: 617-856-8567
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                                CERTIFICATE OF SERVICE

       Pursuant to Federal Rule of Civil Procedure 5(b) and Northern District of Illinois Local

Rule 5.5, attorneys for Plaintiff Scientel Solutions, LLC and certifies that a true and correct copy

of Counter-Defendants’ Fed. R. Civ. P. 12(b)(1) and 12(b)(6) Motion to Dismiss Counterclaim

of Defendant/Counter-Plaintiff, Memorandum of Law in Support of Counter-Defendants’

Fed. R. Civ. P. 12(b)(1) and 12(b)(6) Motion to Dismiss Counterclaim of Defendant/Counter-

Plaintiff, Declaration of Nelson Santos, and an Exhibit 1 to the Declaration of Nelson Santos

were filed through the ECF system and will be sent electronically to the registered participants as

identified on the Notice of Electronic Filing (NEF).

                                              Respectfully submitted,


                                              /s/ Edward J. Naughton
                                              Edward J. Naughton
